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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                 TEXARKANA DIVISION

BILLY TRACY, #999607,                            §
                                                 §
                Petitioner,                      §            CIVIL ACTION NO. 5:20-cv-156
                                                 §
v.                                               §            JUDGE MICHAEL J. TRUNCALE
                                                 §
DIRECTOR, TDCJ-CID,                              §                   DEATH PENALTY
                                                 §
                Respondent.                      §

             ORDER GRANTING UNOPPOSED MOTION FOR EXTENSION
                    OF TIME TO FILE AMENDED PETITION

       Before the Court is Petitioner Tracy’s Unopposed Motion for Extension of Time to File

Amended Petition for Writ of Habeas Corpus [Dkt. 35]. Petitioner’s amended petition for writ of

habeas corpus is currently due on January 28, 2022. [Dkt. 32]. Petitioner seeks an extension of

time to file his amended petition until sixty days after the Fifth Circuit issues its judgment in

Petitioner’s pending interlocutory appeal, Cause No. 21-40686.

       Appointed Counsel for Petitioner reports that, proceeding pro se, Petitioner filed

an interlocutory appeal [Dkt. 26] from the Court’s Order denying Petitioner’s pro se

motion to substitute counsel. [Dkt. 24]. Appointed counsel further reports that he and appointed

co-counsel are not representing Petitioner in his interlocutory appeal, but out-of-state,

retained counsel have filed an appearance and a brief on Petitioner’s behalf. [Dkt. 35 at 7].

Because of the subject matter of the interlocutory appeal taken pursuant to 18 U.S.C. §

3599(e)   and    retained counsels' seeking the appointment of new counsel, appointed

counsel states that his ability to effectively represent Petitioner is constrained while

Petitioner’s interlocutory appeal is pending before the Fifth Circuit.
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       Petitioner’s interlocutory appeal raises unique questions which will require a ruling

from the Fifth Circuit to be resolved. Petitioner’s appointed counsel also correctly points out

that, until the Fifth Circuit has ruled upon Petitioner’s interlocutory appeal, it would be a waste

of time and resources for the parties to proceed with the filing of the amended petition and the

required response. The motion is reasonable. It is accordingly

       ORDERED that the Unopposed Motion for Extension of Time to File Amended Petition

for Writ of Habeas Corpus [Dkt. 35] is GRANTED. Unless otherwise required by the Fifth

Circuit’s prospective opinion, Petitioner’s amended petition will be due sixty (60) days after the

Fifth Circuit issues its judgment in the pending interlocutory appeal in Cause No. 21-40686.

                                       SIGNED this 10th day of January, 2022.




                                                                     ____________________________
                                                                     Michael J. Truncale
                                                                     United States District Judge




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